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                               EXHIBIT 1
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                            )
   ROBERT A. SCHREIBER, individually and on )
   behalf of all others similarly situated, )
                                            )
                   Plaintiff(s),            )
                                            )
                            v.              )              Civil Action No. 1:14-cv-22069
                                            )
   ALLY FINANCIAL INC., et al.,             )
                                            )
                   Defendant.               )


                          SETTLEMENT AGREEMENT AND RELEASE

          1.      This Settlement Agreement and Release is entered into by Plaintiff Robert A.

   Schreiber, individually and on behalf of all Settlement Class Members (as defined below), and

   Defendant Ally Financial Inc. (collectively, the “Parties”), subject to the approval of the Court.

                                            DEFINITIONS

          2.      As used in this Settlement Agreement, the terms set forth below shall have the

   following meanings:

                  a.      “Action” means the above-captioned lawsuit.

                  b.      “Agreement” or “Settlement Agreement” or “Settlement” means this

   Settlement Agreement and Release.

                  c.      “CAFA Notice” means the notice to be sent by Ally Financial Inc. to

   appropriate federal and state officials pursuant to the requirements of the Class Action Fairness

   Act of 2005, 28 U.S.C. § 1715(b) (“CAFA”), within ten (10) days after the Motion for

   Preliminary Approval is filed with the Court.

                  d.      “Ally” or “Defendant” means Ally Financial Inc.
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                  e.      “Claim Period” means the time from the Class Notice Date until ninety

   (90) days after the Effective Date of the Settlement.

                  f.      “Claims Administrator” means the Court-appointed third-party agent or

   administrator agreed to by the Parties and appointed by the Court to oversee and administer the

   Claims Process described in Paragraphs 12-25, and to implement the notice plan described in

   Paragraphs 30-39.     The Parties agree that Heffler Claims Group shall serve as Claims

   Administrator, subject to approval by the Court.

                  g.      “Class Counsel” means Podhurst Orseck, P.A. and Baron & Budd, P.C.

                  h.      “Class Data” means the data and information produced by Ally in the

   Action relating to Class Members and their auto finance accounts with Ally or its affiliates.

                  i.      “Class Notice” means the Notice of Class Action Settlement as approved

   by the Court in its Preliminary Approval Order to be sent to Settlement Class Members by mail.

   The Parties’ proposed Class Notice is attached hereto as Exhibit A.

                  j.      “Class Notice Date” means the date that the Class Notices are mailed to

   Settlement Class Members (which shall be no later than 30 days after the Court’s Preliminary

   Approval Order, unless otherwise ordered by the Court or agreed to by the Parties).

                  k.      “Class Period” shall mean the period from June 4, 2009 through the

   Preliminary Approval Date.

                  l.      “Complaint” means the operative Complaint filed in the Action.

                  m.      “Documentary or Dealer Fee” means any unofficial documentary, dealer,

   or similar fee not disclosed in the SmartLease Agreement that was charged and not refunded to a

   Settlement Class Member in connection with the purchase of a leased vehicle by the Settlement

   Class Member pursuant to the purchase option price set forth in the SmartLease Agreement.



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                  n.      “Effective Date” means either: (a) the date of the Final Approval Order of

   this Agreement by the Court if no objections are timely filed; (b) the expiration date of the time

   for filing notice of any appeal from the Final Approval Order by the Court if any timely

   objections are filed but no appeal is filed; or (c) if an appeal is filed, the latest of (i) the date of

   final affirmance of that Order, (ii) the expiration of the time for a petition for writ of certiorari to

   review the Order if affirmed and, if the certiorari is granted, the date of final affirmance of the

   Order following review pursuant to that grant; or (iii) the date of final dismissal of any appeal

   from the Order or the final dismissal of any proceeding on certiorari to review the Order that has

   the effect of confirming the Order.

                  o.      “Fee Document” means a buyer’s order, retail installment contract, or

   other documentation that shows a Settlement Class Member was charged a Documentary or

   Dealer Fee.

                  p.      “Final Approval Hearing” means the hearing to be requested by the Parties

   and conducted by the Court, following appropriate notice to the Settlement Class and an

   opportunity for the Settlement Class Members to exclude themselves from the Settlement Class

   or to object to the Settlement, at which time the Plaintiff will request the Court to finally approve

   the fairness, reasonableness and adequacy of the terms and conditions of this Settlement

   Agreement, to award Class Counsel attorneys’ fees and expenses, to grant an incentive award to

   the Class Representative, and to enter a Final Approval Order.

                  q.      “Final Approval Motion” or “Motion for Final Approval” means

   Plaintiff’s motion seeking final approval of this Settlement Agreement.

                  r.      “Final Approval Order” means the Court’s Order granting final approval

   to the Settlement Agreement and certifying the Settlement Class.



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                  s.      “Final Judgment” means the Court’s final judgment, issued after the Final

   Approval Order, dismissing Plaintiff’s claims against Ally in the Action with prejudice and

   without costs and fees (except as provided for herein as to costs and fees).

                  t.      “Opt-Out Deadline” means the date forty-five (45) days after the Class

   Notice Date.

                  u.      “Parties” means Plaintiff and Ally.

                  v.      “Plaintiff” means Robert A. Schreiber.

                  w.      “Preliminary Approval Date” means the date of the Preliminary Approval

   Order.

                  x.      “Preliminary Approval Motion” or “Motion for Preliminary Approval”

   means Plaintiff’s motion seeking preliminary approval of this Settlement Agreement.

                  y.      “Preliminary Approval Order” means the Court’s Order preliminarily

   approving the Settlement Agreement, preliminarily certifying the Settlement Class, setting a date

   for the Final Approval Hearing, and providing for notice of the definitions of the Settlement

   Class and the terms of Settlement Agreement to be sent to the Settlement Class Members.

                  z.      “Released Claims” means all claims asserted against Ally in the Action

   and any related claims which could be asserted against Ally arising from Documentary or Dealer

   Fees charged to Class Members in connection with a Class Member’s exercise of the purchase

   option set forth in his or her SmartLease Agreement during the Class Period (including, but not

   limited to, claims for breach of contract or violations of the Consumer Lease Act or its

   implementing regulations), based upon the allegations set forth in the Complaint.

                  aa.     “Released Parties” means Ally, and each and all of its respective past,

   present, and future parents, subsidiaries, affiliated companies and corporations, and each and all



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   of its respective past, present, and future directors, officers, managers, employees, general

   partners, limited partners, principals, agents, insurers, reinsurers, shareholders, attorneys,

   advisors, representatives, predecessors, successors, divisions, joint ventures, assigns, or related

   entities, and each and all of their respective executors, successors, assigns, and legal

   representatives.     Released Parties does not mean any dealership that allegedly improperly

   charged a Documentary or Dealer Fee in connection with a lease-end purchase.

                  bb.      “Settlement Class” and “Settlement Class Members” means all persons

   nationwide who leased a motor vehicle pursuant to a SmartLease Agreement that was assigned to

   Ally Financial Inc. (or a predecessor in interest or affiliated company, including General Motors

   Acceptance Corporation, GMAC LLC, GMAC Inc., GMAC Automotive Bank, Ally Bank, Ally

   Bank Lease Trust or Ally Financial Lease Trust), and who subsequently purchased the leased

   vehicle between June 4, 2009 and the Preliminary Approval Date pursuant to the purchase option

   provision in the SmartLease Agreement and were required to pay a Documentary or Dealer Fee

   not disclosed in the SmartLease Agreement when purchasing the vehicle.

                  cc.       “Settlement Website” shall mean the website described in Paragraph 36.

                                              RECITALS

          3.      Plaintiff filed the Action on June 4, 2014 on behalf of himself and other similarly

   situated customers of Ally. Plaintiff’s Complaint asserted claims against Ally for breach of

   contract and violation of the Consumer Leasing Act. Among other things, Plaintiff alleged that

   Ally charged, or permitted dealers to charge, customers unlawful Documentary or Dealer Fees in

   connection with the lease-end purchase of a vehicle pursuant to the purchase option set forth in

   the SmartLease Agreement.




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          4.      The Parties and their counsel have participated in an extensive alternative dispute

   resolution (“ADR”) process with the assistance of Judge Ellen Leesfield (Ret.), and continued in

   further discussions after mediation.

          5.      In connection with discovery and the ADR process, Ally: (a) responded to

   numerous written discovery requests by Plaintiff and produced extensive written discovery to

   Plaintiff; and (b) produced both aggregate Class Data and individualized Class Data to Plaintiff

   concerning Ally’s customers who purchased their vehicles at lease end pursuant to a purchase

   option provision in their leases (i.e., the Settlement Class Members). Ally also produced a large

   volume of documents related to Settlement Class Members’ accounts, some of which included

   information related to Documentary or Dealer Fees charged by dealers in connection with some

   lease-end purchases that occurred during the Class Period. In addition, Class Counsel conducted

   depositions of numerous Ally employees.

          6.      Class Counsel and Ally independently reviewed and analyzed the documentation

   produced to estimate the average Documentary or Dealer Fee that was charged and the frequency

   with which such fees may have been charged.

          7.      As a result of the ADR process, the analysis of the extensive discovery and Class

   Data produced by Ally, the deposition testimony of Ally employees, and subsequent negotiations

   between the Parties with respect to the terms and conditions of this Settlement Agreement, the

   Parties have agreed to settle the Action according to the terms of this Settlement Agreement.

          8.      At all times, the Parties have negotiated vigorously with each other and at arm’s

   length. The Parties have investigated the facts relating to the claims alleged in the Action, and

   have made a thorough study of the legal principles applicable to the legal claims that have been

   asserted. Based upon their investigation, Class Counsel’s legal evaluation, and taking into



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   account the contested legal and factual issues involved, including the Parties’ assessment of the

   uncertainties of litigation and the relative benefits conferred upon the Settlement Class Members

   pursuant to this Agreement, Plaintiff and Class Counsel have concluded that this Agreement with

   Ally on the terms set forth herein is fair, reasonable and adequate, and in the best interests of

   Plaintiff and the Settlement Class Members.

          9.      Ally has asserted or would assert numerous defenses to the claims alleged in the

   Action, and expressly denies each of the claims and allegations asserted against it and any and all

   liability arising out of the conduct alleged in these Actions. Ally asserts that it is not responsible

   for the conduct of independent dealerships and was not a party to the SmartLease Agreement at

   the time dealers may have charged Documentary or Dealer Fees because the dealers sell the

   leased vehicles pursuant to an assignment of the SmartLease Agreement from Ally to the dealer.

   Ally further denies that either the Plaintiff or the Settlement Class Members suffered any

   cognizable injury as a result of Ally’s conduct. By entering into this Agreement, Ally does not

   admit any wrongdoing, and this Agreement shall not constitute an admission of liability by Ally.

          10.     In order to effectuate this Settlement, Ally stipulates to the certification of the

   Settlement Class pursuant to FED. R. CIV. P. 23(b)(3) as defined above in Paragraphs 2(k) and

   2(bb). By so stipulating, Ally shall not be precluded from challenging class certification in any

   other action, or in further proceedings in this Action if this Settlement is not finally approved. If

   the Settlement is not finally approved by the Court, the certification of the Settlement Class will

   be void. No agreements made by or entered into by Ally in connection with this Settlement may

   be used by Plaintiff, any Settlement Class Member, or any other person to establish any of the

   elements of class certification in any litigated certification proceedings, whether in the Action or

   any other judicial or regulatory proceeding.



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          11.    NOW THEREFORE, IT IS HEREBY AGREED, BY AND BETWEEN the

   undersigned Parties, that this Action shall be settled, subject to the approval of the Court,

   pursuant to the following terms and conditions:

                 MONETARY RELIEF TO SETTLEMENT CLASS MEMBERS

          12.    Claims Process. All Settlement Class Members shall have the opportunity to

   submit a claim for monetary relief using a Court-approved Claim Form as detailed below.

          13.    Claim Form. The Parties’ proposed Claim Form is attached hereto as Exhibit B.

          14.    Method for Returning Claim Forms. Settlement Class Members shall have the

   opportunity to submit and return completed Claim Forms to the Claims Administrator by mail, or

   online by uploading the completed Claim Form through the Settlement Website or completing a

   an online version of the Claim Form and uploading a Fee Document, if available.

          15.    Valid Claims. A Claim Form shall be valid and complete only if all material

   information requested on it has been provided; all required signatures are present on the

   document; and all documentation required by the instructions on the Claim Form accompanies

   the Claim Form. To submit a valid Claim, Settlement Class Member must either (a) submit with

   the Claim Form a Fee Document; or (b) affirm that the Settlement Class Member believes he or

   she was charged a Documentary or Dealer Fee and request that the Claims Administrator make a

   reasonable search of records provided by Class Counsel and/or Ally for a Fee Document. A

   Claim is valid only if the Settlement Class member submits or the Claims Administrator can

   locate a Fee Document that reflects a charge to the Settlement Class Member for a Documentary

   or Dealer Fee and the amount of the fee. If a Class Member submits a Fee Document, the Fee

   Document must be dated no more than 30 days after the purchase of vehicle, unless the Class

   Member provides an explanation for why the Fee Document is dated more than 30 days after the



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    purchase of the vehicle and the Claims Administrator determines that the Fee Document is valid.

    If no Fee Document is submitted and the Claims Administrator cannot locate a Fee Document

    for the Settlement Class Member, the Settlement Class Member will not receive compensation.

           16.     Time Period for Submitting Claim Forms. Settlement Class Members may submit

    their Claim Form to the Claims Administrator at any time during the Claim Period.

           17.     Remedy to Address Defective Claims. If any submitted Claim Forms are deemed

    invalid by the Class Administrator for any reason (e.g., because they are defective or materially

    incomplete), the Claims Administrator shall promptly advise Class Counsel on a weekly basis so

    that Class Counsel may follow-up with the Settlement Class Member who submitted such Claim

    Form in order to cure any deficiency. Any defective Claim Form may be cured and shall be

    accepted by the Claims Administrator so long as the defect is resolved within 30 days of the end

    of the Claim Period.

           18.     Payment to Settlement Class Members. Each Settlement Class Member who

    timely returns a valid Claim Form (“Claimant”) shall receive a payment (“Settlement Payment”)

    equal to one hundred percent (100%) of the Documentary or Dealer Fee that was charged in

    connection with the lease-end transaction pursuant to a purchase option provision in his/her

    SmartLease Agreement. However, in the event the total amount due to Claimants plus Class

    Counsel’s attorney’s fees and costs and the Class Representative’s Incentive Award exceeds the

    value of the Settlement as set forth below in Paragraph 19, which is inclusive of Class Counsel’s

    attorneys’ fees and costs and the Class Representative’s Incentive Award, payment to Claimants

    will be on a pro rata basis.

           19.     Value of Settlement to Settlement Class Members. During the Class Period, the

    total estimated amount of Documentary or Dealer Fees charged to Settlement Class Members,



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    based on an analysis of a statistically significant sample of available documentation related to the

    relevant lease-end purchase transactions, was approximately $19,717,222 (the “Settlement

    Value”). Pursuant to this Settlement Agreement, Ally will make the Settlement Value available

    to Settlement Class Members inclusive of Class Counsel’s attorneys’ fees and costs and the Class

    Representative’s Incentive Award, but exclusive of all costs and fees of the Claims

    Administrator.

           20.       Method of Settlement Payments. Claimants will be paid via a check.

           21.       Distribution of Settlement Payments. Within five (5) business days after entry of

    the Final Approval Order, the Claims Administrator shall set up a Qualified Settlement Fund

    (“QSF”) pursuant to Internal Revenue Code Section 1.468B-1 with a federally-chartered national

    bank selected by Class Counsel, and the QSF shall be administered by the Claims Administrator

    pursuant to an escrow agreement between and among the Claims Administrator, Ally, and Class

    Counsel, which agreement, among other things, shall specify the manner in which the Claims

    Administrator shall direct and control the disbursement of funds in the Qualified Settlement

    Fund. Within thirty (30) days after the end of the Claim Period, Ally shall deposit into the QSF

    all funds necessary to make the Settlement Payments which are to be paid to Claimants. All

    check payments to Claimants shall be made by the Claims Administrator from this QSF as soon

    as reasonably practicable (and no later than thirty (30) days after deposit of the funds necessary

    to make the Settlement Payments into the QSF). For purposes of this mailing, the Claims

    Administrator shall use the addresses that were provided by the Claimants on their Claim Forms.

    The Parties agree that the Claims Administrator, with the assistance of an accountant selected by

    the Parties, shall be responsible for filing tax returns for the QSF and paying from the QSF or

    funds provided by Ally any Taxes owed with respect to the QSF. The Parties agree that the



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    account shall be treated as a QSF from the earliest date possible, and agree to any relation-back

    election required to treat the account as a QSF from the earliest date possible.

            22.     Re-Mailing of Returned Settlement Payments. Any Settlement Payments that are

    returned as non-deliverable with a forwarding address shall be re-mailed by the Claims

    Administrator to such forwarding address within ten (10) business days. If any Settlement

    Payments are returned as non-deliverable without a forwarding address, the Claims

    Administrator shall conduct reasonable searches to locate valid address information for the

    intended recipients of such Settlement Payments using the methods provided in Paragraph 34

    below, and shall, within ten (10) business days, re-mail the Settlement Payment to any new

    address that is identified.

            23.     Payment Period. Claimants who are issued Settlement Payments shall have 180

    days from the date settlement checks are mailed to cash their settlement checks (the “Payment

    Period”). If payment to Class Members is made on a pro rata basis pursuant to Paragraph 18,

    any funds from checks that remain uncashed following the Payment Period shall be paid on a pro

    rata basis to Class Members who cashed their initial checks, up to an amount (inclusive of the

    amount of the initial check) equal to one hundred percent (100%) of the Documentary or Dealer

    Fee that was charged in connection with the lease-end transaction pursuant to a purchase option

    provision in his/her SmartLease Agreement.        If the Claims Administrator determines, after

    consulting with the Parties, that it is administratively infeasible to issue such a second check to

    Class Members, or if payments are not initially made on a pro rata basis, any funds from checks

    that remain uncashed following the Payment Period shall be paid on a cy pres basis to cy pres

    recipient jointly selected by the Parties and approved by the Court. The payment to the cy pres

    recipient shall be made by the Claims Administrator, subject to Court approval.



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           24.     Final Accounting. No later than thirty (30) days after all Settlement Payments are

    made to Claimants, and again at the conclusion of the Payment Period, the Claims Administrator

    shall provide a detailed final accounting to the Parties. The Claims Administrator shall also

    provide declarations concerning the claims administration process and responses to requests for

    information to the Parties at any time.

           25.     No person shall have any claim against the Parties, the Settlement Class

    Members, Class Counsel, or the Claims Administrator based on payments made in accordance

    with the procedures set forth in this Settlement Agreement.

                                 ADDITIONAL SETTLEMENT PAYMENTS

           26.     Additional Payments. As set forth in Paragraphs 27 through 29 below, Ally shall

    pay Class Counsel’s attorneys’ fees and costs, the Class Representative’s Incentive Award, and

    the fees and costs of the Claims Administrator. Class Counsel’s attorneys’ fees and costs and the

    Class Representative’s Incentive Award shall be paid inclusive of the payments made to

    Claimants pursuant to this Agreement, as described in more detail in Paragraph 18 of this

    Agreement. The costs of the Claims Administrator shall be paid exclusive of and in addition to

    the payments made to Claimants.

           27.     Class Counsel’s Attorneys’ Fees and Costs. The Parties did not begin to negotiate

    attorneys’ fees and expenses until after agreeing to the principal terms set forth in this Settlement

    Agreement. Contemporaneous with or as part of the filing of the Final Approval Motion, Class

    Counsel shall apply for attorneys’ fees and costs in accordance with FED. R. CIV. P. 23(h).

    Subject to the Court’s approval, within seven (7) business days after entry of the Final Approval

    Order or creation of the QSF (whichever occurs later), Ally shall pay into the QSF Class

    Counsel’s attorneys’ fees and expenses in the amount awarded by the Court, up to $2,950,000.



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    The funds shall be disbursed pursuant to the terms of the escrow agreement described in

    paragraph 21. These amounts will compensate Class Counsel for all work already performed

    and all of the work remaining to be performed in this Action (including but not limited to

    securing Court approval of the Settlement, overseeing the fair administration and implementation

    of the Settlement, responding to inquiries from Settlement Class Members, and obtaining

    dismissal of the Action), and all associated costs and expenses. Any order or proceedings

    relating to Class Counsel’s application for attorneys’ fees and expenses (including the

    modification or reversal of, or any appeal from, any order related to the application) will not

    operate to terminate or cancel this Agreement, or affect or delay the Effective Date. Any

    attorneys’ fees and expenses paid to Class Counsel pursuant to this Paragraph shall be returned

    to Ally within 14 days of termination of the Agreement under Paragraph 51.

           28.     Class Representative Incentive Award: Class Counsel may petition the Court for

    an incentive award of up to $5,000 for Plaintiff. The purpose of such award shall be to

    compensate the Plaintiff for efforts undertaken by him on behalf of the Class. Any incentive

    award made by the Court shall be paid within 30 days of the Effective Date.

           29.     Claims Administrator’s Fees and Costs. Ally shall pay all fees and costs of the

    Claims Administrator on a periodic basis as they are invoiced, including, without limitation, all

    amounts billed in connection with the distribution of the Class Notice, Claim Form, processing

    of claims, distribution of Settlement Payments, the establishment of a telephone hotline and

    website, any fees, expenses, taxes, or costs associated with the QSF, and all other functions

    requested by the Parties or set forth in the Settlement Agreement. Prior to performing any work,

    the Claims Administrator shall provide the Parties with an estimate of its fees and costs related to

    the administration of this Settlement, and the amount paid to the Claims Administrator in



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    connection with this Settlement shall not exceed that amount absent a showing by the Claims

    Administrator of good cause.

                                     NOTICE OF SETTLEMENT

           30.     Following the Court’s preliminary approval of this Settlement Agreement, notice

    of the definition of the Settlement Class and the material terms of this Settlement shall be sent to

    the Settlement Class Members by direct mail as set forth below. The Parties will request the

    Court to determine that the proposed procedures for notice set forth below and in Exhibit A to

    this Agreement constitute the best practicable notice to Settlement Class Members and are in

    compliance with their due process rights.

           31.     The Claims Administrator shall be responsible for preparing, printing, and

    mailing the Class Notice to all Settlement Class Members as directed and approved by the Court

    in its Preliminary Approval Order.

           32.     Within ten (10) business days after the Court’s Preliminary Approval Order, Ally

    shall transmit to the Claims Administrator an updated database containing the last known contact

    information for all Settlement Class Members, including: names, addresses, and telephone

    numbers (to the extent reasonably available in database format) (the “Settlement Class List”).

    The Claims Administrator shall maintain the confidentiality of the Settlement Class List, and

    shall undertake best efforts to verify and update the Settlement Class List. A copy of the

    Settlement Class List shall be provided to Class Counsel subject to the Protective Order entered

    by the Court in this Action.

           33.     Within thirty (30) days after the Court’s Preliminary Approval Order, or as soon

    as reasonably practicable, the Claims Administrator shall mail, via first class mail, the Class

    Notice to the Settlement Class Members. The Class Notice shall provide information and



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    instructions to the Settlement Class Members concerning the Settlement and their right to submit

    a Claim Form, as well as their objection rights and opt-out rights.

           34.     Non-Deliverable Class Notices.         If any Class Notices are returned as non-

    deliverable, and a forwarding address is provided, the Claims Administrator shall re-mail the

    Class Notice to the forwarding address within five (5) business days. If any Class Notices are

    returned as non-deliverable, and no forwarding address is provided, the Claims Administrator

    shall attempt to ascertain a valid address for any affected Settlement Class Member by

    conducting an automated skip trace in an effort to find a valid address for such Settlement Class

    Member, and shall re-mail the Class Notice within five (5) business days to the address(es) that

    are found.

           35.     Telephone Support. Effective on the Class Notice Date, and until the expiration

    of the Payment Period, the Claims Administrator shall arrange for a toll-free interactive voice

    response (“IVR”) telephone system with agreed-upon script recordings of information about this

    Settlement, including information about the Claim Form, utilizing the relevant portions of the

    language contained in the Class Notice and Claim Forms. To the extent that Settlement Class

    Members have questions that are not answered by the IVR, they shall be directed to the

    Settlement Website, where they may submit a message that will be returned by the Claims

    Administrator or Class Counsel, as appropriate. The Claims Administrator shall only respond to

    routine administrative questions (e.g., questions about obtaining claim forms, questions about

    how or when to submit claims, questions about lost checks or address changes, etc.), and all

    other questions shall be referred to Class Counsel.

           36.     Settlement Website. Effective on the Class Notice Date and until thirty (30) days

    after expiration of the Payment Period, the Claims Administrator shall also make active an



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    agreed website describing the terms of the Settlement and from which Settlement Class Members

    can download relevant forms such as the operative Complaint, the Class Notice, the Claim Form,

    the Settlement Agreement, and ECF-filed (i.e., publicly-available) copies of Plaintiff’s motion

    papers in support of approval of the Settlement and in support of the requested attorneys’ fees,

    costs, and class representative service awards. The website shall also allow Class Members to

    upload completed claim forms, to complete an online version of the Claim Form, to upload

    accompanying documentation, and to send a message through the website to check on the status

    of their claims.   The website shall include the toll-free number established by the Claims

    Administrator pursuant to this Settlement, as well as other information pertinent to the

    Settlement.

           37.     Declaration of Due Diligence in Providing Notice. Prior to the filing of Plaintiff’s

    Motion for Final Approval, or as requested by the Parties, the Claims Administrator shall provide

    counsel for the Parties with a declaration setting forth: (a) due diligence and proof of mailing of

    the Class Notice; (b) the total number of Settlement Class Members who were sent a Class

    Notice; and (c) the total number of Settlement Class Members who submitted timely requests for

    exclusion or objections to the Settlement, along with the complete copies of all requests for

    exclusion and objections received, including the postmark dates for each request for exclusion or

    objection. Class Counsel shall file the declaration with the Court prior to the Final Approval

    Hearing.

           38.     The Claims Administrator shall send to each appropriate State and Federal official

    the materials specified in 28 U.S.C. § 1715 (“CAFA Notice”) and otherwise comply with its

    terms. The identities of such officials and the content of the materials shall be mutually agreeable

    to the Parties, through their respective counsel. Any communications received from State and



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    Federal officials in response to CAFA Notice shall be immediately (within one business day)

    electronically forwarded to counsel for the parties.

           39.     Persons who believe that they are Class Members may contact Class Counsel or

    the Claims Administrator or complete and file a Claim Form indicating that they wish to be

    eligible for the relief provided in this Agreement.

                                    OPT-OUTS AND OBJECTIONS

           40.     Requests for Exclusion: The Class Notice shall provide that Settlement Class

    Members who wish to exclude themselves from the Settlement must submit a written statement

    requesting exclusion from the Settlement (“opt-out”), postmarked no later than the Opt-Out

    Deadline.    Such written request for exclusion must contain the name and address of the

    Settlement Class Member requesting exclusion, and be personally signed by the Settlement Class

    Member who seeks to opt out. No opt-out request may be made on behalf of a group of

    Settlement Class Members.        The opt-out request must be sent by mail to the Claims

    Administrator and must be timely postmarked by the Opt-Out Deadline. The postmark date of

    the mailing envelope shall be the exclusive means used to determine whether an opt-out has been

    timely submitted. The Claims Administrator shall provide the Parties with copies of all opt-out

    requests on a weekly basis. If the number of Settlement Class Members who file opt-out

    requests equals or exceeds two-and-one-half percent (2.5%) of the total number of all Settlement

    Class Members, then Ally, in its sole discretion, may, at any time prior to ten (10) business days

    after the Opt-Out Deadline, notify Class Counsel that it believes that the Settlement Agreement

    cannot achieve its purpose. In that event, this Settlement Agreement shall become null and void;

    the Action may continue; and the Plaintiff and Ally shall jointly move that any and all orders

    entered pursuant to this Settlement Agreement be vacated. Any Settlement Class Member who



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    requests exclusion from (i.e., opts out of) the Settlement will not be entitled to any Settlement

    Payment and will not be bound by this Settlement or have any right to object, appeal or comment

    thereon.

           41.     Objections: The Class Notice shall provide that any Settlement Class Member

    who wishes to object to the Settlement Agreement must file a written statement of objection with

    the Clerk of Court, and mail (with the requisite postmark) the written statement of objection to

    Class Counsel and Defense Counsel no later than the Opt-Out Deadline.                The Notice of

    Objection must state: a) the case name and number; b) the basis for the objection; c) the name,

    address, telephone number, and email address of the Settlement Class Member making the

    objection; d) a statement of whether the Settlement Class Member intends to appear at the Final

    Approval Hearing, either with or without counsel; and e) be personally signed by the Settlement

    Class Member. Settlement Class Members who fail to make objections in the manner specified

    above shall be deemed to have waived any objections and shall be foreclosed from making any

    objection (whether by appeal or otherwise) to the Settlement Agreement. Any challenge to the

    Settlement, Final Approval Order, or Final Judgment shall be pursuant to appeal under the

    Federal Rules of Appellate Procedure and not through a collateral attack.

                                           FINAL APPROVAL

           42.     Final Approval Motion. At least thirty (30) days before the Final Approval

    Hearing, or on the date set by the Court (if different), Plaintiff shall file a motion requesting that

    the Court grant final approval of the Settlement, with Class Counsel filing a memorandum of law

    in support of the motion and addressing any timely submitted objections to the Settlement.

           43.     Matters to Be Considered at Final Approval Hearing. At the Final Approval

    Hearing, the Court will consider and determine whether the Settlement is fair, reasonable and



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    adequate, whether the notice provided to Settlement Class Members constitutes the best notice

    practicable and satisfies due process, whether any objections to the Settlement should be

    overruled, whether Class Counsel’s application for attorneys’ fees and costs should be approved,

    and whether an order finally approving the Settlement should be entered.

           44.      The obligation of the Parties to conclude this proposed Agreement is subject to

    and conditioned upon the issuance by the Court of a Final Approval Order and Final Judgment

    which grants final approval of this Agreement and:

           45.      Certifies the Settlement Class for settlement purposes;

           46.      Finds that the Class Notice satisfies the requirements of due process and Fed. R.

    Civ. P. 23(e)(1);

           47.      Finds that the Settlement Agreement is fair, reasonable and adequate to the

    Settlement Class, and that each Settlement Class Member (except those who submitted a timely

    and valid request to opt-out of the Settlement Class) shall be bound by this Agreement;

           48.      Dismisses on the merits and with prejudice all claims asserted in the Action

    against Ally;

           49.      Permanently enjoins each and every Settlement Class Member (excluding those

    Settlement Class Members who submitted a timely and valid request to opt-out) from bringing,

    joining or continuing to prosecute against Ally any action asserting the Released Claims; and

           50.      Retains jurisdiction of all matters relating to the interpretation, administration,

    implementation, effectuation and enforcement of this Settlement.

                                  TERMINATION OF AGREEMENT

           51.      Plaintiff and Ally shall each have the right to unilaterally terminate this

    Agreement by providing written notice of their election to do so to all other Parties hereto within



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    ten (10) business days of: (a) the Court’s final refusal to grant preliminary approval of this

    Agreement; (b) the Court’s final refusal to grant final approval of this Agreement; or (c) the date

    upon which the Final Approval Order is modified or reversed in any material respect by the

    Eleventh Circuit Court of Appeals, or the U.S. Supreme Court. The above notwithstanding, the

    Parties agree that should the Court modify the Agreement in any respect, the Parties will, within

    the above-indicated period, meet and confer in a good faith attempt to reach agreement and

    preserve the Agreement.


      RELEASE, ASSIGNMENT OF CLAIMS AGAINST DEALERS AND DISMISSAL OF
                                 CLAIMS

           52.     Class Release. Subject to the approval of the Court and in consideration of the

    benefits inuring to the Plaintiff and the Settlement Class Members hereto, upon entry of the Final

    Approval Order, the Plaintiff and each Settlement Class Member and his or her assigns, heirs,

    successors and personal representatives shall hereby release, resolve, relinquish, and discharge

    each and all of the Released Parties from each of the Released Claims that exist in their favor

    through the date of this Settlement Agreement. The Plaintiff and Settlement Class Members

    further agree that they will not institute any action or cause of action (in law, in equity, or

    administratively), suits, debts, liens, or claims, known or unknown, fixed or contingent, which

    they may have or claim to have in state or federal court, or with any state, federal or local

    government agency or with any administrative or advisory body, asserting the Released Claims.

           53.     Assignment of Settlement Class Members’ Claims Against Dealerships. Each

    Settlement Class Member that receives a Settlement Payment assigns to Ally any and all claims

    the Settlement Class Member has or may have against the dealership that charged the allegedly

    impermissible Documentary or Dealer Fee arising from or related to that Fee up to the amount of

    the Settlement Payment that the Settlement Class Member receives. Ally reserves the right to

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    pursue those claims and/or seek indemnification from such dealerships. In the event Ally

    pursues a Settlement Class Member’s claims against a dealership, Ally further agrees to

    indemnify Settlement Class Members from any claims, counterclaims, or third party claims

    asserted by the dealership against a Settlement Class Member in that action to the extent the

    dealership’s claims, counterclaims or third party claims arise from or relate to the allegedly

    impermissible documentary or dealer fee.

                                         MISCELLANEOUS

           54.     No Admission of Liability. By entering into this Agreement, Ally shall not be

    deemed to have made any admission of liability or wrongdoing.

           55.     Acknowledgment. Each of the Parties acknowledges and represents that such

    Party: (a) has fully and carefully read this Agreement prior to execution; (b) has been fully

    apprised by counsel of the legal effect and meaning of the terms of this Agreement; (c) has had

    the opportunity to undertake whatever investigation or inquiry is necessary or appropriate in

    connection with this Agreement; (d) has been afforded the opportunity to negotiate any and all

    terms of this Agreement; and (e) is executing this Agreement voluntarily and free from any

    undue influence, coercion, or duress of any kind.

           56.     Agreement to Cooperate. The Parties and their respective counsel will cooperate

    with each other and use their best efforts to effect the implementation of the Agreement. In the

    event that the Parties are unable to reach agreement on the form or content of any document

    needed to implement the Agreement, or on any supplemental provisions that may become

    necessary to effectuate the terms of this Agreement, the Parties may seek the assistance of the

    Court to resolve such disagreement after meeting and conferring with each other in good faith to

    attempt to resolve the dispute.



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           57.     Plaintiff further represents that he: (1) has agreed to serve as the representative of

    the Class proposed to be certified herein; (2) is willing, able, and ready to perform all of the

    duties and obligations of the representative of the Class, including, but not limited to, being

    involved in discovery and fact finding; (3) has read the pleadings in the Action, including the

    operative Complaint, or has had the contents of such pleadings described to him; (4) is familiar

    with the results of the fact-finding undertaken by Class Counsel; (5) has been kept apprised of

    settlement negotiations among the Parties, and has either read this Agreement, including the

    exhibits annexed hereto, or has received a detailed description of it from Class Counsel and has

    agreed to its terms; (6) has consulted with Class Counsel about the claims and the Action and

    this Agreement and the obligations imposed on the representative of the Class; (7) has a good

    faith belief that this Settlement and its terms are fair, adequate, reasonable and in the best

    interests of the Class; and (8) shall remain and serve as the representative of the Class until the

    terms of this Agreement are effectuated, this Agreement is terminated in accordance with its

    terms, or the Court at any time determines that said Plaintiff cannot represent the Class.

           58.     The Parties acknowledge and agree that no opinion concerning the tax

    consequences of the proposed Settlement to Class Members is given or will be given by the

    Parties, nor are any representations or warranties in this regard made by virtue of this

    Agreement. Each Class Member's tax obligations, and the determination thereof, are the sole

    responsibility of the Class Member, and it is understood that the tax consequences may vary

    depending on the particular circumstances of each individual Class Member.

           59.     All time periods set forth herein shall be computed in calendar days unless

    otherwise expressly provided. In computing any period of time prescribed or allowed by this

    Agreement or by order of the Court, the day of the act, event, or default from which the



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    designated period of time begins to run shall not be included. The last day of the period so

    computed shall be included, unless it is a Saturday, a Sunday or a federal holiday, or, when the

    act to be done is the filing of a paper in court, a day on which weather or other conditions have

    made the office of the clerk of the court inaccessible, in which event the period shall run until the

    end of the next day that is not one of the aforementioned days. As used in this Paragraph,

    “Federal Holiday” includes New Year’s Day, Birthday of Martin Luther King, Jr., Presidents’

    Day, Memorial Day, Independence Day, Labor Day, Columbus Day, Veterans Day, Patriot’s

    Day, Thanksgiving Day, the day after Thanksgiving, Christmas Day, and any other day

    appointed as a holiday by the President, the Congress of the United States or the Clerk of the

    United States District Court for the Southern District of Florida.

           60.     The Parties reserve the right, subject to the Court’s approval, to agree to any

    reasonable extensions of time that might be necessary to carry out any of the provisions of this

    Agreement.

           61.     The waiver by one Party of any breach of this Agreement by another Party shall

    not be deemed a waiver of any prior or subsequent breach of this Agreement.

           62.     If one Party to this Agreement considers another Party to be in breach of its

    obligations under this Agreement, that Party must provide the breaching Party with written

    notice of the alleged breach and provide a reasonable opportunity to cure the breach before

    taking any action to enforce any rights under this Agreement.

           63.     In the event any one or more of the provisions contained in this Agreement shall

    for any reason be held to be invalid, illegal, or unenforceable in any respect, such invalidity,

    illegality, or unenforceability shall not affect any other provision if Ally, and Class Counsel, on

    behalf of Plaintiff and Class Members, mutually agree in writing to proceed as if such invalid,



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    illegal, or unenforceable provision had never been included in this Agreement.             Any such

    agreement shall be reviewed and approved by the Court before it becomes effective.

           64.     Authority. Each person executing this Settlement Agreement on behalf of any of

    the Parties represents that such person has the authority to execute this Agreement.

           65.     Binding Upon Successors and Assigns. This Agreement shall be binding upon,

    and inure to the benefit of, the successors or assigns of the Parties, as previously defined.

           66.     Construction. The Parties believe that the terms of this Agreement are a fair,

    adequate and reasonable settlement of this Action, and have arrived at this Settlement Agreement

    through arms-length negotiations and with the assistance of a professional and neutral mediator,

    taking into account all relevant factors, present and potential. This Agreement has been drafted

    jointly by counsel for the Parties. Hence, in any construction or interpretation of this Agreement,

    the same shall not be construed against any of the Parties.

           67.     Counterparts. This Agreement may be executed in one or more counterparts. All

    executed copies of this Agreement and photocopies thereof (including facsimile and/or emailed

    copies of the signature pages), shall have the same force and effect and shall be as legally

    binding and enforceable as the original.

           68.     Defense Fees and Costs. All of Ally’s own attorneys’ fees and legal costs and

    expenses incurred in the Action shall be borne by Ally from its own separate funds.

           69.     Entire Agreement.       This Agreement constitutes the entire fully-integrated

    agreement among the Parties relating to the Settlement.            All prior or contemporaneous

    agreements, understandings and statements, whether oral or written, and whether by a party or its

    counsel, are merged herein. No oral or written representations, warranties or inducements of any

    kind have been made to any Party concerning this Agreement, other than as set forth herein.



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           70.     Governing Law. This Agreement shall be governed by the laws of the State of

    Florida.

           71.     Headings and Captions. The headings and captions in this Agreement are for

    convenience only and in no way define, limit, or otherwise describe the scope or intent of this

    Agreement, or any term of this Agreement. Each term of this Agreement is contractual and is

    not merely a recital.

           72.     No Oral Modifications. This Agreement may be amended or modified only by a

    written instrument signed by counsel for all Parties or their successors-in-interest. No rights

    hereunder may be waived except in writing. No oral amendment or modification shall be

    permitted or effective.

           73.     Notices. Unless otherwise agreed in writing, all notices to the Parties or counsel

    required by the Agreement shall be made in writing and communicated by first class mail and

    email to the following:

           If to the Plaintiff or Class Counsel:

                   Podhurst Orseck, P.A.
                   Matthew P. Weinshall
                   One S.E. 3rd Ave, Suite 2300
                   Miami, FL 33131
                   Telephone: (305) 358-2800
                   Email: mweinshall@podhurst.com
           If to Ally’s Counsel:

                   BALLARD SPAHR, LLP
                   Christopher J. Willis
                   999 Peachtree Street, Suite 1000
                   Atlanta, GA 30309-2915
                   Telephone: (678) 420-3900
                   Fax: (678)-420-9301
                   Email: willisc@ballardspahr.com




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           74.    Retention of Jurisdiction.   The Court shall retain jurisdiction to interpret,

    implement and enforce this Settlement Agreement. The Parties consent to jurisdiction for this

    purpose.




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     Robert A. Schreiber

                                           Date: - - - - - - - - - - - - - - - - - - - - - - - -


     APPROVED AS TO FORM AND CONTENT:

     FOR PLAINTIFF


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                                  EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                             )
    ROBERT A. SCHREIBER, individually and on )
    behalf of all others similarly situated, )
                                             )
                    Plaintiff(s),            )
                                             )
                             v.              )             Civil Action No. 1:14-cv-22069
                                             )
    ALLY FINANCIAL INC., et al.,             )
                                             )
                    Defendant.               )



          THIS IS A NOTICE OF A PROPOSED CLASS ACTION SETTLEMENT.
     PLEASE READ THIS NOTICE CAREFULLY. YOUR RIGHTS MAY BE AFFECTED.
           YOU MAY BE ENTITLED TO MONEY FROM THIS SETTLEMENT

            This is an important notice from the United States District Court for the Southern
    District of Florida (the “Court”) regarding a proposed class action settlement and upcoming
    hearing in the above-referenced class action lawsuit that may affect your rights. This notice is
    being sent to you because you have been identified as a Settlement Class Member in this
    lawsuit and therefore may be entitled to money under the proposed Settlement. IN
    ORDER TO RECEIVE COMPENSATION FROM THIS SETTLEMENT IF YOU ARE
    ELIGIBLE, YOU MUST COMPLETE, SIGN, AND RETURN THE ENCLOSED CLAIM
    FORM BY [DATE].

    I.     BACKGROUND AND SUMMARY OF LITIGATION

            This class action lawsuit alleges that Defendant Ally Financial Inc. (“Ally”) violated the
    legal rights of consumers by charging or permitting dealerships to charge impermissible
    documentary or dealer fees in connection with lease-end vehicle purchases pursuant to purchase
    option provisions in consumers’ leases. Ally denies that it has acted unlawfully, but has
    agreed to enter into this Settlement to resolve these allegations.

             The Court has preliminarily approved the Settlement and has certified the following class
    for settlement purposes:

                   All persons nationwide who leased a motor vehicle pursuant to a
                   SmartLease Agreement that was assigned to Ally Financial Inc. (or a
                   predecessor in interest or affiliated company, including General Motors
                   Acceptance Corporation, GMAC LLC, GMAC Inc., GMAC Automotive
                   Bank, Ally Bank, Ally Bank Lease Trust or Ally Financial Lease Trust),
                   and who subsequently purchased the leased vehicle between June 4, 2009

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                  and [preliminary approval date] pursuant to the purchase option provision
                  in the SmartLease Agreement and were required to pay a documentary,
                  dealer, or similar fee not disclosed in the SmartLease Agreement when
                  purchasing the vehicle (the “Settlement Class”).

    II.    SUMMARY OF THE PROPOSED SETTLEMENT

           The Court preliminarily certified the Settlement Class and preliminarily approved the
    settlement on [DATE]. The Settlement Agreement provides for the following relief: 

            Ally has agreed to pay each Settlement Class Member who timely returns a completed
    Claim Form and all necessary documentation (“Claimant”) a Settlement Payment up to one
    hundred percent (100%) of the documentary, dealer, or similar fee that was charged in
    connection with the lease-end purchase pursuant to the purchase option provision in his/her
    SmartLease Agreement during the time period from June 4, 2009 through [preliminary approval
    date]. Settlement Payments are expected to be mailed within 180 days after the effective date of
    the settlement.

           A Claim Form is enclosed with this Notice of Class Action Settlement, and additional
    copies may be obtained on the Settlement Website at [www._________.com]. Alternatively, an
    online version of the claim form may be completed on the Settlement Website. In order to
    receive compensation from this Settlement, if you are eligible, YOU MUST SUBMIT A CLAIM
    FORM OR COMPLETE AN ONLINE CLAIM FORM BY [DATE].

           Claimants will have 180 days from the date settlement checks are issued to cash their
    settlement check (the “Payment Period”). Any funds from checks that remain uncashed
    following the Payment Period will be paid to an entity approved by the Court.

           During the Class Period, total estimated amount of documentary or dealer fees charged to
    Settlement Class Members, based on an analysis of a statistically significant sample of accounts
    with documentation containing information establishing that such fees were charged, was
    approximately $19,717,222 (the “Settlement Value”). This is the value of the Settlement if all
    Settlement Class Members submit timely Claim Forms. Pursuant to this Settlement, Ally will
    make the full amount of the Settlement Value available to Settlement Class Members, inclusive
    of any attorneys’ fees and costs. Subject to the Court’s approval, Ally has agreed to pay Class
    Counsel’s attorneys’ fees in an amount up to $2,950,000.  The Settlement Value is exclusive of
    and an addition to all fees and costs paid to the Claims Administrator.

    III.   INSTRUCTIONS FOR FILLING OUT A CLAIM FORM

            If you purchased your leased vehicle pursuant to the purchase option provision in your
    SmartLease Agreement, and were charged a documentary, dealer, or other similar fee between
    June 4, 2009 and ____________, 201_, you may be entitled to payment.

           If you are entitled and wish to make a claim for settlement relief, you must complete the
    Enclosed Class Action Claim Form (“Claim Form”) and submit it to Settlement Administrator or

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    complete the online version of the Claim Form. The deadline to submit a completed Claim Form
    is ________ (“Claim Deadline”). You may submit your completed Claim Form in one of the
    following ways:
           i.      Mail it to: [Claims Administrator] P.O. Box ____, ___________, _____ ______-
                   ____, with a postmark of no later than ____________ or, if a private mail carrier
                   is used, a label reflecting that the mail date is no later than the Claim Deadline.
           ii.     Upload it to the Settlement Website at: www.________.com
           iii.    Complete the online version of the claim form at www.________.com.

            If you fail to submit your completed Claim Form by the Claim Deadline, you will not be
    able to obtain a settlement credit or payment.

           In addition to completely filling out all requested information and signing the Claim
    Form, in order to receive a payment of Settlement Relief, you must either:

           i.      provide documentation, such as a retail installment sales contract, buyer’s order,
           or other itemized invoice or documentation, confirming that a documentary, dealer or
           similar fee was charged, and the amount of the fee; or

           ii.    indicate that you believe you were charged a documentary, dealer, or similar fee,
           and request that the Claims Administrator conduct a reasonable search of records
           provided by Class Counsel and/or Ally for a Fee Document (as defined in the Settlement
           Agreement and Release).

           PLEASE NOTE that Ally and Class Counsel do not have fee documentation for all class
    members, and therefore, the Claims Administrator may not be able to locate this documentation
    for you through a reasonable search of the records. If no documentation is submitted with your
    claim form, and if the Claims Administrator cannot locate documentation for you, you will not
    receive a settlement payment.

           Once you return your completed Claim Form, your claim will be reviewed by the
    Settlement Administrator. Subject to the audit of claims, if your Claim Form is properly
    completed, affirmed, and where appropriately verified, and the Settlement Administrator
    determines that your claim is valid, you will receive your settlement relief, subject to final
    approval by the Court.

           Ally may separately audit or review Claim Forms submitted by Claimants. Any such audit
    may include a computerized search for any bankruptcy filings in United States District
    Bankruptcy Court pertaining to the Claimant(s) filed after the Claimant(s) purchased the leased
    vehicle.

           If you have any questions or would like further information about the terms of the
    settlement, your eligibility for Settlement Relief under the Settlement Agreement, or how to
    make a claim for settlement relief, you may visit [www.________.com], call us toll-free at 1-800-
    xxx-xxxx, or write to: ___________________________, ___________________________,
    ___________________________, _____________________, ___________ XXXXX.

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    III.   Release of Claims

            In exchange for the monetary and injunctive relief provided by the settlement, all
    Settlement Class Members who do not timely exclude themselves by opting out of the settlement
    will release Ally, including each and all of its respective past, present, and future parents,
    subsidiaries, affiliated companies and corporations, and each and all of its respective past,
    present, and future directors, officers, managers, employees, general partners, limited partners,
    principals, agents, insurers, reinsurers, shareholders, attorneys, advisors, representatives,
    predecessors, successors, divisions, joint ventures, assigns, or related entities, and each and all of
    their respective executors, successors, assigns, and legal representatives (collectively, the
    “Released Parties”), from all claims asserted against Ally in the action, Schreiber v. Ally
    Financial, Inc., Civ. Act. No. 1:14-cv-22069 (S.D. Fla.) (the “Action”), and any related claims
    which could be asserted against Ally in connection with documentary or dealer fees charged in
    connection with a lease end purchase of a leased vehicle pursuant to the purchase option
    provision of leases assigned to or serviced by Ally (or its affiliates) during the Class Period,
    based upon the allegations set forth in the complaint filed in the Action (including, without
    limitation, claims for breach of contract and violation of the Consumer Leasing Act) (“Released
    Claims”).

           The Settlement Agreement describes the Class Release as follows:

                   Subject to the approval of the Court and in consideration of the
                   benefits inuring to the Plaintiff and the Settlement Class Members
                   hereto, upon entry of the Final Approval Order, the Plaintiff and
                   each Settlement Class Member and his or her assigns, heirs,
                   successors and personal representatives shall hereby release,
                   resolve, relinquish, and discharge each and all of the Released
                   Parties from each of the Released Claims that exist in their favor
                   through the date of this Settlement Agreement. The Plaintiff and
                   Settlement Class Members further agree that they will not institute
                   any action or cause of action (in law, in equity, or
                   administratively), suits, debts, liens, or claims, known or
                   unknown, fixed or contingent, which they may have or claim to
                   have in state or federal court, or with any state, federal or local
                   government agency or with any administrative or advisory body,
                   asserting the Released Claims.

            The Class Release does not apply to any dealership that allegedly improperly charged a
    documentary, dealer or other improper fee in connection with a lease-end purchase. Instead, each
    Settlement Class Member that receives a Settlement Payment assigns to Ally any and all claims
    the Settlement Class Member has or may have against the dealership that charged the allegedly
    impermissible documentary or dealer fee arising from or related to that fee. Ally reserves the
    right to pursue those claims and/or seek indemnification from such dealerships. In the event Ally
    pursues a Settlement Class Member’s claims against a dealership, Ally further agrees to
    indemnify Settlement Class Members from any claims, counterclaims, or third party claims
    asserted by the dealership against a Settlement Class Member in that action to the extent the
    dealership’s claims, counterclaims or third party claims arise from or relate to the allegedly

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    impermissible documentary or dealer fee.

           If the proposed settlement is approved by the Court, a judgment will be entered by the
    Court following the Final Approval Hearing, which will dismiss with prejudice the Released
    Claims as set forth above. This release will not apply to any Settlement Class Members who
    timely opt out of the Class.

    IV.    Your Legal Rights and Options

          In order to receive monetary relief from this Settlement, YOU MUST RETURN A
    COMPLETED COPY OF THE ATTACHED CLAIM FORM TO THE CLAIMS
    ADMINISTRATOR OR COMPLETE AN ONLINE VERSION OF THE CLAIM FORM
    BY [Insert Date].

            If you do not wish to participate in this Settlement, and want to be excluded from the
    Settlement Class, you must send a letter to the Claims Administrator at the address above,
    postmarked no later than [INSERT DATE], requesting exclusion from the settlement (“opt-out”).
    Your written request for exclusion must contain your name, address, telephone number and email
    address, and be personally signed by you. No opt out request may be made on behalf of a group
    of Settlement Class Members. Any Settlement Class Member who requests exclusion from (opts
    out of) the Settlement will not be bound by the Settlement Agreement, and will not have any right
    to object, appeal or comment thereon. If you exclude yourself, you will not receive any
    compensation under the Settlement, but you will keep your right to sue Ally on your own and at
    your expense.

           If you wish to object to the Settlement, you must file a written objection with the Clerk of
    Court, and mail your objection (with the requisite postmark) to Class Counsel and Defense
    Counsel no later than [INSERT DATE]. The address for Class Counsel is provided below in
    Section VI. The address for Defense Counsel is:

                   Christopher J. Willis
                   BALLARD SPAHR, LLP
                   999 Peachtree St., NE, Suite 1000
                   Atlanta, Georgia 30309

            The Notice of Objection must include (a) the case name and number; (b) your name,
    address, telephone number, and email address (c) the basis for the objection; (d) a statement of
    whether you intend to appear at the Final Approval Hearing, either with or without counsel; and
    (e) be personally signed by you. Settlement Class Members who fail to make objections in the
    manner specified above shall be deemed to have waived any objections and shall be foreclosed
    from making any objection (whether by appeal or otherwise) to the Settlement Agreement. If
    you object to the Settlement, you will remain a Settlement Class Member, and will be bound by
    the terms of the Settlement and the release specified above, if the Court grants final approval to
    the Settlement.

    V.     The Final Approval Hearing


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            On [INSERT DATE], at [INSERT TIME], before the Honorable Darrin P. Gayles, in the
    United States Courthouse, 400 North Miami Avenue, Miami, Florida 33128, the Court will hold a
    Final Approval Hearing to determine whether to grant final approval to the Settlement and
    determine the appropriate amount of attorneys’ fees and costs to award to counsel for the
    Settlement Class and any service award to the Named Plaintiff. You may attend this hearing but
    are not required to do so. You may also enter an appearance in the case through your own
    attorney, at your own expense, if you so desire.

             You may review a copy of the Settlement Agreement and other documents that are
    relevant to this case, including Class Counsel’s application for attorneys’ fees and costs (when it
    is filed), at the Settlement Website, www._________.com. You may also review a copy of the
    Settlement Agreement at the Clerk’s Office at the U.S. District Court for the Southern District of
    Florida, 400 North Miami Avenue, Miami, Florida 33128.

    VI.    How to Obtain Additional Information

           This Notice of Class Action Settlement provides a summary of the proposed Settlement
    Agreement. If you have any questions concerning this Settlement, you should visit the
    Settlement Website, www.___________.com. If you have further questions after visiting the
    Settlement Website, or need any assistance in completing the Claim Form, you may call the
    Claims Administrator at [INSERT 1-800 NUMBER], or mail or email your inquiry to the Claims
    Administrator at the address below:

           Claims Administrator
           [INSERT CLAIMS ADMINISTRATOR ADDRESS]

           You may also contact Class Counsel directly, as follows:


    Matthew P. Weinshall
    PODHURST ORSECK, P.A.
    SunTrust International Center
    One S.E. 3rd Ave, Suite 2700
    Miami, Florida 33131
    Phone: (305) 358-2800
    Fax: (305) 358-2382


    Dan Alberstone
    BARON & BUDD P.C.
    15910 Ventura Boulevard, Suite 1600
    Encino, California 91436
    Telephone: (818)839-2333
    Facsimile: (818)986-9698


                 PLEASE DO NOT CONTACT THE COURT WITH QUESTIONS
     

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                                 EXHIBIT B
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                            INSTRUCTIONS FOR CLASS ACTION CLAIM FORM
    I. HOW TO MAKE A CLAIM FOR SETTLEMENT RELIEF
           a.      Eligibility for Relief
           If you purchased your leased vehicle pursuant to the purchase option provision in your
    SmartLease Agreement, and were charged a documentary, dealer, or similar fee between June 4,
    2009 and ____________, 201_, you may be entitled to payment in the amount of the fee that was
    charged (“Settlement Relief”).
           b.      How to Make a Claim for Settlement Relief
           If you are entitled and wish to make a claim for settlement relief, you must complete the
    Enclosed Class Action Claim Form (“Claim Form”) and submit it to Claims Administrator or
    complete an online version of the Claim Form. The deadline to submit a completed Claim Form
    is ________ (“Claim Deadline”). You may submit your completed Claim Form in one of the
    following ways:
           i.      Mail it to: [Claims Administrator], P.O. Box ____, ___________, _____
                   ______-____, with a postmark of no later than ____________ or, if a private mail
                   carrier is used, a label reflecting that the mail date is no later than the Claim
                   Deadline.
           ii.     On or before [date], upload it to the Settlement Website at: www.________.com
           iii.    Prior to 11:59 p.m. Eastern Time on [date], complete an online version of the
                   Claim Form at: www.________.com
            If you fail to submit your Claim Form as required by these Instructions, you will not be
    able to obtain a settlement payment.
           c.      Affirmations and Verification of Your Claim
           Your Claim Form must be completely filled out and signed in order to receive payment in
    the amount of Settlement Relief. In addition, to receive a payment of Settlement Relief, you
    must either:
           i.     provide documentation, such as a retail installment sales contract, buyer’s order, or
                  other itemized invoice or documentation, confirming that a documentary, dealer or
                  similar fee was charged, and the amount of the fee (if the documentation is dated
                  more than thirty days after the day of the transaction, you must also provide an
                  explanation for the date of the documentation); or
           ii.    indicate that you believe you were charged a documentary, dealer or similar fee,
                  and request that the Claims Administrator conduct a reasonable search of records
                  provided by Class Counsel and/or Ally for a Fee Document (as defined in the
                  Settlement Agreement and Release).
            PLEASE NOTE that Ally and Class Counsel do not have fee documentation for all class
    members, and therefore, the Claims Administrator may not be able to locate this documentation
    for you. If no documentation is submitted with your claim form, and if the Claims Administrator
    cannot locate documentation for you through a reasonable search of available records, you will
    not receive a settlement payment.
           d.      Review of Your Claim
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            Once you return your completed Claim Form, your claim will be reviewed by the Claims
    Administrator. Subject to the audit of claims, if your Claim Form is properly completed and the
    Claims Administrator determines that your claim is valid, you will receive a Settlement Payment,
    as set forth in the Settlement Agreement and Release, subject to final approval by the Court.
    Settlement Payments are expected to be mailed within 180 days after the effective date of the
    settlement.
           e.     Audit of Claim Forms
           Ally may separately audit or review Claim Forms submitted by Claimants. Any such
    audit may include a computerized search for any bankruptcy filings in United States District
    Bankruptcy Court pertaining to the Claimant(s) filed after the Claimant(s) purchased the leased
    vehicle.
    II. IF YOU NEED FURTHER INFORMATION
           If you have any questions or would like further information about the terms of the
    settlement, your eligibility for Settlement Relief under the Settlement Agreement, or how to
    make a claim for settlement relief, you may visit www.________.com, call us toll-free at 1-800-
    xxx-xxxx, or write to: ___________________________, ___________________________,
    ___________________________, _____________________, ___________ XXXXX.
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                                   CLASS ACTION CLAIM FORM
    PLEASE FULLY COMPLETE THIS CLAIM FORM AND SIGN IT BELOW. INCOMPLETE
    CLAIM FORMS WILL BE DEEMED INVALID AND THE CLAIM MAY BE DENIED. IF
    MORE THAN ONE PERSON IS A LESSEE ON THE ALLY LEASE, THEN ALL NAMED
    LESSEES MUST COMPLETE AND SIGN THIS CLAIM FORM.
    THIS COMPLETED FORM MUST BE MAILED TO THE CLAIMS ADMINISTRATOR SO
    THAT IT IS POSTMARKED ON OR BEFORE <<DEADLINE>> OR SUBMITTED ONLINE
    BEFORE 11:59 P.M. EASTERN TIME ON <<DEADLINE>>.
    TO BE COMPLETED BY YOU:
    1. Claimant’s Name

    2. Claimant’s Current Address
       (if different from address on
       the envelope enclosing this
       form)

    3. Claimant’s Telephone Number                     (Home)                     (Cell)

    4. Claimant’s Email Address
                             You must also provide ONE of the following:
    (1) A buyer’s order, itemized invoice, or retail installment sales contract related to the purchase
        of the leased vehicle that identifies the documentary, dealer or similar fee that was charged,
        and the amount of that fee          OR
    (2) Indicate below that you believe you were charged a documentary, dealer or similar fee in
        connection with the purchase of the leased vehicle, and you request that the Claims
        Administrator make a reasonable search of available records to locate documentation of the
        fee.
    (1)     During the period from June 4, 2009 through DATE, I leased a motor vehicle
    pursuant to a SmartLease Agreement that was assigned to Ally Financial, Inc., and I
    exercised my right to purchase the leased vehicle under the purchase option provision in
    the lease;
    (2)   I believe I was charged a documentary, dealer or similar fee in connection with my
    purchase of the leased vehicle, and that fee has not been refunded; and
    (3)    Check ONE:
           ______ I am enclosing documentation showing that I was charged a fee; OR
          ______ I believe I was charged a fee, and I request that the Claims Administrator
    to make a reasonable search of available records to locate documentation of the fee.
    (4)  Since my purchase of the vehicle, my claim against Ally Financial Inc. has not been
    compromised or discharged in bankruptcy.
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    The information provided by me on this Claim Form is true and correct.
    Date: _______________, 2018.
    _______________________________________        _______________________________

    (Signature of Claimant)                        Last Four Digits of Social Security No.



    _______________________________________        _______________________________

    (Signature of Co-Claimant)                     Last Four Digits of Social Security No.
